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11
                           UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13                              EASTERN DIVISION

14
     RAUL NOVOA, JAIME CAMPOS                      Civil Action No. 5:17-cv-02514-JGB-
15   FUENTES, ABDIAZIZ KARIM, and                  SHKx
     RAMON MANCIA, individually and
16
     on behalf of all others similarly situated,
17                                                 PLAINTIFFS’ STATEMENT RE
                          Plaintiffs,              MOTION TO COMPEL
18
                                                   DISCOVERY RESPONSES (ECF
19                                                 179, 196)
     v.
20
     THE GEO GROUP, INC.,
21                                                 The Honorable Shashi H. Kewalramani
                          Defendant.
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30   PLAINTIFFS’ STATEMENT RE MOTION TO COMPEL                    5:17-cv-02514-JGB-SHK
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 1         The parties thank the Court for its attention to Plaintiffs’ motion to compel in
 2   this action (Dkt. 179, the “Motion”). As discussed at the last hearing on September 27,
 3   2019, and as ordered by the Court that same date (Dkt. 196, the “September 27 Order”),
 4   Plaintiffs submit this statement to inform the Court that, based on Defendant’s second
 5   amended written responses to Plaintiffs’ first set of requests for production, Plaintiffs
 6   can confirm withdrawal of the Motion with respect to all RFPs that the Court marked
 7   as “Tentatively withdrawn” in its September 27 Order.
 8         For clarity, this removes the following RFPs from the scope of the Motion and
 9   the Court’s order thereon: 4, 6, 7, 13, 14, and 18.
10         Counsel are available to discuss further or to provide additional material as the
11   Court may require.
12
13
14   Dated: October 7, 2019                   ___ ______________________
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